       Case 1:12-cv-12324-MLW Document 389 Filed 12/18/17 Page 1 of 1
        Case l:12-cv-12324-MLW Document 375 Filed 11/29/17 Page 1 of 4

                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE
COMMISSION,

                      Plaintiff,

                                                    Civil Action No. 12-12324-MLW


BIOCHEMICS,INC.,JOHN J. MASIZ,
CRAIG MEDOFF and GREGORY S.
KRONING,

                      Defendants.



                                   BIOCHEMICS'SECOND MOTION
                        FOR APPROVAL OF THE PARTIAL TRANSFER
                   OF BIOCHEMICS'INTELLECTUAL PROPERTY RIGHTS

       BioChemics moves for an Order approving the partial transfer of BioChemics'

intellectual property rights in consideration ofthe payment into the Court's registry of$5 million
by December 28, 2017. The basis for this Motion is as follows:

I.     RELEVANT PROCEDURAL HISTORY

       The Court in response to BioChemics report contained in the 9-18-17 Joint Report(Doc.
#353)par. 1(a) and BioChemics September 29,2017 motion(Doc. #356), by Order dated
October 13, 2017(Doc.#360)approved the transfer ofBioChemics'technology for a limited
purpose. In reference to that opportunity, BioChemics and the Commission had discussed the
nature and extent of the partial release ofthe Commission's security interest that would be
required in exchange for a $5 million payment to the Court's registry. BioChemics and the
Commission had come to an agreement regarding the wording of that partial release and the

partial release was shared with ADEC.

                                                        ^ e
